EXHIBIT

Case 3:09-cv-00571 Document 1-1 Filed 06/19/09 Page 1 of 7 Page|D #: 6

 

STATE OF TENNESSEE
DEPARTMENT OF COMMERCE AND lNSURANCE
500 JAMES ROBERTSON PARKWAY
NASHVILLE, TN 37243-1131

May 28, 2009
Hartford Life & Accident |ns Co - CERTIF|ED MA|L
2908 Poston Avenue, % C S C RETURN RECE|PT REQUESTED
Nashvi||e, TN 37203 7008 3230 0002 4321 0649
NA|C # 70815 Cashier # 3250

Re: Sharon Simmons V. Hartford Life & Accident ins Co

DOCket # 09C1663

To Whom lt May Concern:

- We are enclosing herewith a document that has been served on this department on your behalf in connection with

the above-styled matter.

| hereby make oath that the attached Comp|aint was served on me on May 22, 2009 by Sharon Simmons
pursuant to Tenn. Code Ann. § 56-2-504 or § 56~2-506. A copy of this document is being sent to the Circuit Court
of Davidson County` TN.

Brenda C. Meade

Designated Agent

Service of Process

Enclosures

cc: Circuit Court Cierk
Davidson County

506 Metro C_ourthouse
Nashville. Tn 37201

Service of Process 615.532.5260

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ClRCU|T COURT SUMMONS NASHV|LLE, TENNESSEE

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DockET No.

 

 

P\ajntjff Method of Service:
|:| Davidson County Sheriff
|:l Out of County Sher|ff

Vs.
M€I'! `§;q`c/ /\' `{; &-"\({ A?GC' ;c/éba `/ [:| Secretary of Slale

 

 

 

 

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_'P 0 gaf `)-Q q q, l:l Persona|Service
#K l"/ fay f`é ar p@/D ¢"//}17/ g Commissioner of lnsurance
Defendant___

To the above named Defendant:

You are summoned to appear and defend a civil action filed against you in the Circuit Court, 1 Public Square, Room 302,
P.O. Box 196303, Nashvi|le, TN 37219-6303, and your defense must be made within thirty (30) days from the date this
summons ls served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to
the Plaintiff’s attorney at the address listed below.

ln case of your failure to defend this action by the above date, judgment by default will be rendered against you for the
relief demanded ln the complaint.

l RlCHARD R. ROOKER
lSSUEDI 5 " 6- Cc-) Circuit Court Clerk

      

By:

 

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ATroRNEY FOR PLA|NT|FF j\? ge r_’/ F §D¢th vt , /¥ 7$/3¢'1~¢
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PLAlNTlFF'S ADDREss /)/£_(Az/, //€' 7]/ g 7 1667

TO THE SHER|FFZ

 

 

 

 

Please execute this summons and make your return hereon as provided by |aw.

RlCHARD R. ROOKER
Circuit Court Clerk

Recelved this summons for service this day of , 20

 

SHER|FF
lf you have a disability and require assistance, please contact 862-5204.

 

bdb€ J.UH'(,V'UU -

 

RETURN ON PERSONAL SERV|CE OF SUMMONS

 

l hereby certify and return that on the day of . 20 , l:

 

 

 

served this summons and complaint/petition on

 

 

in the following manner:

 

 

 

 

failed to serve this summons within 30 days after its issuance because

 

 

 

 

Sheriff/Process Server

RETURN ON SERV|CE OF SUMMONS BY MA|L

 

l hereby certify and retum, that on the ' day of , 20 l sentl postage prepaid by

registered return receipt mail or certified return receipt mail, a certified copy of the summons and a copy of the compliant in Docket No.

 

 

to the defendant, . On the day of '
20 , l received the return receipt for said registered or certified mail, which had been signed
by on the day of , 20 . Said return

 

 

receipt is attached to this original summons and both documents are being sent herewith to the Circuit Court Clerk for filing.

SWORN TO AND SUBSCR|BED BEFORE ME ON THlS

DAY OF , 20 . PLAlNTlFF, PLAlNTlFF'S ATroRNEY oR oTHER PERSoN
AurHoRleD BY sTATuTE To sERvE PRocESS

 

 

NOTARY PUBL|C Or DEPUTY CLERK
MY CON|N||SS|ON EXPIRES: '

NOTICE
TO THE DEFENDANT(S):

Tennessee law provides a fourthousand dollar ($4,000.00) debtor's equity interest

personal property exemption from execution o_r seizure to satisfy a judgment. |f a judgment ATl'ACH
should be entered against you in this action and you wish to claim property as exempt. you

must tile a written list, under oath, of the items you wish to claim as exempt with the clerk of RETURN
the court. The list may be filed at any time and may be changed by you thereafter as necessary; `

howeverl unless it is filed before the judgment becomes tinal, it will not be effective as to any RECE|PT
execution or garnishment issued priorto the filing of the list. Certain items are automatically

exempt by law and do not need to be listed; these include items of necessary wearing apparel HERE
(clothing) for yourself and your family and trunks or other receptacles necessary to contain such

appare|, family portraits. the family Bible. and school books. Should any of these items be seized, (lF APPL|CABLE)

you would have the right to recover them. |f you do not understand your exemption right or how
to exercise it, you may wish to seek the counsel of a lawyer. `

 

STATE OF TENNESSEE l, Richard R. Rooker, Clerk of the Circuit Court in the State and County aforesaid,
COUNTY OF DAV|DSON do hereby certify this to be a true and correct copy of the original summons issued
in this case. .

RlCHARD R. ROOKER, CLERK
(To be completed only if
copy certification required.)
. By' D..C
. ', h

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I`N THE CIRCUIT COURT FOR D__KAVIR.S=O§,COUNTY, TENNESSEE

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SHARON Sll\/U\/IONS,-Executrix of the w 35 P
Estate of Sylvia Eris Petty, deceaseleq M ‘
Plaintiff. . ~' " '

  

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V.

) Jl_r_ry Dernand
HARTFORD LIFE AND ACCIDENT )
INSURANCE COMPANY, )
Defendant )
COMPLAINT

Comes now, Plaintiff, Sharon Simmons, and would respectfully Show to the
Court.

l. She is the daughter of Sylvia Eris Petty, deceased, and is also the Executrix of
her mother's estate, Docket No. 08P-1037, Probate Court for Davidson County, `
Tennessee Plaintiff is a resident ofNashville, Davidson County, Tennessee

2. _ The Defendant, Haltford Life and Accident lnsuIance Company, is a
corporation with offices in Ha_rtford, Connecticut.

- 3. That Sylvia Eris Petty was the beneficiary under an Accidenta'l Death and
Dismemberrnent Insurance Policy, No. ADD-10900 issued by the Defendant, Hartford
Life and Accident lnsurance Company. Said policy afforded coverage in the amount of
$100,000.00 in the event of the accidental death of a beneficiary under the poliey.

4. Plaintiff would respectfully show that her mother died on June l, 2008, after

accidentally falling at her horne in Nashville, Tennessee on May 28, 2008.

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5. Plaintiff will show to the Court from medical testimony presented at the trial of
this cause, that the accidental fall sustained by Sylvia Eris Petty on May 28, either caused
or substantially contributed to her death on June l, 2008.

6. Plaintiff has filed a claim for benefits under the aforementioned pol'icy, but no
payments or satisfaction of said claim has been forthcoming

WHEREFORE, Plaintiff sues the Defendant for the benefits payable under said
accidental death policy in the amount of $100,000.00, and demands a jury to try thisl
cause.

Respectnllly Submitted,

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r'/' _.-"-`{

R'oBERT F. sPANN, BY.R. No. 2531
Attomey for Plaintiff

1312 6“‘ Avenue, Norrh

Nashviue, TN 37208

(615) 248-2300

  

STATE OF TENNESSEE
COUNTY OF DAVIDSON

Sharon Simmons, first being duly sworn and in accordance with law, makes oath the information
contained in the foregoing complaint, is true and correct to the best of her l<nowledge, information
and belief. 1 ._\ \

 

 

aimed away
SHARON SIMMONS
\"‘“\\unru,, _'//‘“
Sworn to and sub`ss'§@$§b§%tj; mg mthis day of /7/¢2'¢-) l, 2009.
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